                 THE UNITED STATES DISTRICT COURT
           FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                        ASHEVILLE DIVISION
              CRIMINAL CASE NO. 1:22-cr-00092-MR-WCM


UNITED STATES OF AMERICA,        )
                                 )
                  Plaintiff,     )
                                 )
         vs.                     )                VERDICT
                                 )
KAILYN LEROY FLACK,              )
                                 )
                  Defendant.     )
________________________________ )

      THIS MATTER came for trial and was heard by the undersigned judge

without a jury on June 25 and 26, 2024.

      The Defendant Kailyn Leroy Flack waived his right to a jury trial, and

the Government has consented. [Doc. 58]. The Court approves this waiver

pursuant to Rule 23(a)(3) of the Federal Rules of Criminal Procedure.

      After considering the facts stipulated by the parties, and the evidence

presented at the bench trial, the Court finds beyond a reasonable doubt as

follows:

      1.     The Defendant is GUILTY of the charge set forth in Count

             One of the Bill of Indictment; and

      2.     The Defendant is NOT GUILTY of the charge set forth in

             Count Two of the Bill of Indictment.


     Case 1:22-cr-00092-MR-WCM Document 60 Filed 06/27/24 Page 1 of 2
     IT IS, THEREFORE, ORDERED that the Defendant is hereby

remanded to the custody of the United States Marshals Service pending a

sentencing hearing.

     The Clerk of Court shall provide copies of this Verdict to counsel for

the Government, counsel for the Defendant, and the United States Marshals

Service.

     IT IS SO ORDERED.
                           Signed: June 26, 2024




                                        2



     Case 1:22-cr-00092-MR-WCM Document 60 Filed 06/27/24 Page 2 of 2
